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                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MONTANA

                              HELENA DIVISION

                              )
BENNETT K. MACINTYRE,         ) Cause No. CV-19-42-H-SEH
                              )
               Plaintiff,     ) CARROLL COLLEGE’S
                              ) MOTION FOR SUMMARY
     v.                       ) JUDGMENT
                              )
CARROLL COLLEGE,              )
                              )
               Defendant.     )
__________________________________________________________________

      Carroll College moves the Court for summary judgment in accordance with

Federal Rule of Civil Procedure 56 for five reasons:

      (1)   Mr. MacIntyre cannot establish the three prima facie elements of a

            Title IX retaliation claim;
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      (2)      Carroll College has legitimate, nondiscriminatory reasons for its

               actions, and Mr. MacIntyre cannot establish those reasons are pretext;

      (3)      Mr. MacIntyre has asserted claims in this litigation that he released in

               his April 13, 2016 Settlement Agreement and Release with Carroll

               College;

      (4)      Mr. MacIntyre’s claims which predate June 21, 2016 are barred by the

               three-year statute of limitations applicable to Title IX retaliation

               claims; and

      (5)      Mr. MacIntyre has no damages related to the speculative future loss of

               the tuition remission benefit, in another 13 and 16 years respectively,

               for his minor children, ages 2 and 6 (on September 30, 2020).

      For the reasons more particularly set forth in Carroll College’s Brief in

Support of Summary Judgment and supporting documents, Carroll College

respectfully requests the Court grant summary judgment.

      Counsel for Carroll College has contacted counsel for Plaintiff. Plaintiff’s

counsel objects to the motion.

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DATED April 2, 2021.

                            CROWLEY FLECK PLLP


                            By:   /s/ Marcia Davenport
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